         Case 6:18-bk-16350-SY Doc 16 Filed 08/01/18 Entered 08/01/18 21:50:10                                               Desc
                             Imaged Certificate of Notice Page 1 of 2
                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 18-16350-SY
Charles Richard Nelson                                                                                     Chapter 7
Ruth Delia Nelson
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0973-6                  User: smasonC                      Page 1 of 1                          Date Rcvd: Jul 30, 2018
                                      Form ID: van197                    Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 01, 2018.
db/jdb         +Charles Richard Nelson,    Ruth Delia Nelson,  5555 Tower Road,   Riverside, CA 92506-1083
aty            +Randolph R Ramirez,   RANDOLPH ROGER RAMIREZ PC,   1613 Chelsea Road, Ste. 186,
                 San Marino, CA 91108-2419

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 01, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 30, 2018 at the address(es) listed below:
              Arturo Cisneros (TR)    amctrustee@mclaw.org, acisneros@iq7technology.com
              Randolph R Ramirez   on behalf of Debtor Charles Richard Nelson
               randolph.ramirez@yourlegalneeds.net;r49965@notify.bestcase.com
              Randolph R Ramirez   on behalf of Joint Debtor Ruth Delia Nelson
               randolph.ramirez@yourlegalneeds.net;r49965@notify.bestcase.com
              United States Trustee (RS)   ustpregion16.rs.ecf@usdoj.gov
                                                                                            TOTAL: 4
         Case 6:18-bk-16350-SY Doc 16 Filed 08/01/18 Entered 08/01/18 21:50:10                                           Desc
                             Imaged Certificate of Notice Page 2 of 2
                                           United States Bankruptcy Court
                                            Central District of California
In re:                                                               CASE NO.:   6:18−bk−16350−SY
Charles Richard Nelson
                                                                     DATE OF FILING:   7/27/18
Ruth Delia Nelson
                                                                     CHAPTER.:   7

                               NOTICE OF DISMISSAL OF CASE IF REQUIRED
                                 DOCUMENTS ARE NOT FILED OR SIGNED


To Debtor and Debtor's Attorney:
     The above captioned case was filed on the above date through the Case Management/Electronic Case Filing (CM/ECF)
system without the following document(s) and/or information as required by FRBP 1007 and LBRs 1002−1 and 1007−1(a):


         Statement About Your Social Security Numbers (Official Form 121) (Individual debtors only) [FRBP 1007(f); LBR 1002−1]

         Debtor's federal Employer Identification Number (EIN) (Full EIN required for Non−Individuals) (Official Form 201)

         Signature of Attorney on Petition (Official Form 101 or 201) [FRBP 9011]
         Holographic Signature of Debtor(s) on Petition (Official Form 101 or 201)

         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims Against You and Are Not
         Insiders (Official Form 104), or Chapter 11 or 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims
         Against You and Are Not Insiders (Official Form 204) [FRBP 1007(d); LBR 1002−1]
         Declaration About an Individual Debtor's Schedules (Official Form 106Dec) − Declaration (Signed)

         Declaration Under Penalty of Perjury for Non−Individual Debtors (Official Form 202) − Declaration (Signed)

         Verification of Master Mailing List of Creditors (Signed) [LBR 1007−1(a)] (LBR Form F1007−1)
         Master Mailing List of Creditors which must include the name, mailing address, and zip code of each creditor listed in
         Schedules D, and E/F [FRBP 1007; LBR1007−1(a)] (via paper filing or electronically filed in PDF format)
         Master Mailing List of Creditors must be uploaded in CM/ECF in text (.txt) format in accordance with the Court Manual
         Debtor's physical street address must be provided in addition to any post office box address (Official Form 101 or 201)[LBR
         1002−1(a)]
         Other (Specify):



      NOTICE IS GIVEN that the debtor and/or debtor's attorney must submit the above stated documents and/or
information within 72 hours from the date of this notice or the case will be dismissed without further notice by the
Court.




Dated: July 27, 2018                                                             BY THE COURT,
                                                                                 Kathleen J. Campbell
                                                                                 Clerk of Court
(Form van197−ndcrnf) Rev 01/2018                                                                                             9 / SRG
